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15
                                UNITED STATES DISTRICT COURT
16
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17
18    ROBERT ALEXANDER KASEBERG,         )       Case No. 15-CV-01637-JLS-DHB
                                         )
19                                       )
                   Plaintiff,            )
20                                       )
                                         )
21           vs.                         )       JOINT WITNESS LIST
                                         )
22                                       )
      CONACO, LLC; TURNER                )       Judge: Hon. Janis L. Sammartino
23    BROADCASTING SYSTEM; TIME          )       Trial: May 28, 2019
      WARNER, INC.; CONAN O’BRIEN;       )
24                                       )
      JEFF ROSS; MIKE SWEENEY; DOES 1 )
25    – 10, inclusive,                   )
                                         )
26                                       )
                   Defendants.           )
27    __________________________________ )
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 1    I.      JOINT WITNESS LIST
 2            A.    Robert Alexander Kaseberg
 3            Mr. Kaseberg is a professional freelance writer and the Plaintiff. He resides in
 4    San Diego County.
 5            B.    Conan O’Brien
 6            Mr. O’Brien is a comedian and late-night talk show host, currently of Conan,
 7    which airs on TBS, and formerly of Late Night and The Tonight Show on NBC. Conan
 8    is produced by Defendant Conaco, LLC. Mr. O’Brien lives in the Los Angeles area and
 9    is a named Defendant in this lawsuit.
10            C.    Michael Sweeney
11            Mr. Sweeney was the head writer of Conan at all times relevant to this lawsuit
12    and supervised separate teams of monologue and sketch comedy writers. He has worked
13    with Mr. O’Brien for 24 years. He lives in the Los Angeles area and is a named
14    Defendant in this lawsuit.
15            D.    Jeffrey Ross
16            Mr. Ross was the executive producer of Conan at all times relevant to this lawsuit
17    and he continues to hold that position today. He has worked with Mr. O’Brien for 26
18    years. He lives in the Los Angeles area and is a named Defendant in this lawsuit.
19            F.    Josh Comers
20            Mr. Comers was a monologue writer on the Conan show at all times relevant to
21    this lawsuit. He lives in New Jersey.
22            G.    Brian Kiley
23            Mr. Kiley is a monologue writer on the Conan show and was a monologue writer
24    at the times relevant to this lawsuit. He has worked with Mr. O’Brien for 25 years. He
25    lives in the Los Angeles area.
26            H.    Stephen Robinson Kutner
27            Mr. Kutner, who goes by Rob Kutner, was a monologue writer on the Conan
28    show at all times relevant to this lawsuit. He lives in the Los Angeles area.

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 1            I.      David Wolkis
 2            Mr. Wolkis is the Senior Vice President of Production at Turner. He has worked
 3    for Defendant Turner for over 18 years. He works at Turner’s location in Burbank,
 4    California.
 5            J.      Ayesha Kardar
 6            Ms. Kardar is a Certified Public Accountant and is the Senior Director of
 7    Financial Analysis at Turner. She has worked for Defendant Turner for over 10 years.
 8    She works at Turner’s location in Burbank, California.
 9            K.      David J. Barsky, Ph.D.
10            Dr. Barsksy is a Professor of Mathematics at California State University San
11    Marcos, with a research specialty in percolation theory, a branch of probability theory..
12            L.      John H. Reith, MBA, CPA, CFF, CVA, CGMA, CIACPA
13            Mr. Reith is a Certified Public Accountant and who lives and works in the Los
14    Angeles area.
15            M.      Jeffrey Kinrich
16            Mr. Kinrich is a Certified Public Accountant and statistician. He lives and works
17    in Los Angeles is a managing principal of Analysis Group, an economics consulting
18    firm.
19    II.     Witnesses the Parties Reserve the Right to Call
20            A.      Elayne Boosler
21            Ms. Boosler is a professional comedian who resides in the Los Angeles area..
22            B.      Danielle Weisberg
23            Ms. Weisberg was a writer’s assistant at the Conan show at all times relevant to
24    this lawsuit.
25            C.      Christopher Hayes
26            Mr. Hayes is the IT Director for Conaco, LLC.
27            D.      John Bugolski
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 1            Mr. Bugolski was the Head of Research for Conaco, LLC at all times relevant to
 2    this lawsuit.
 3            E.      Andy Richter
 4            Mr. Richter works on the Conan show as an announcer on the Conan Show.
 5            F.      Patton Oswalt
 6            Mr. Oswalt is a professional comedian, comedy writer, and actor.
 7            G.      Laurie Kilmartin
 8            Ms. Kilmartin was the fourth monologue writer employed by Conan at the times
 9    relevant to this lawsuit.
10            H.      Melanie Boysaw
11            Ms. Boysaw is a television writer who lives and works in Los Angeles. At the
12    times relevant to this lawsuit, she worked as a writers’ coordinator at Conan.
13
14            The Parties reserve the right to call any witness who may be needed to
15    authenticate documents in the event that one party refuses to stipulate to their
16    authenticity.
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 1    DATED: March 28, 2019              J. LORENZO LAW

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 3
                                         By:/s/ Jayson M. Lorenzo ______
 4                                             JAYSON M. LORENZO
 5                                             Attorney for Plaintiff
 6
 7
 8    DATED: March 28, 2019             GLASER WEIL FINK HOWARD
                                         AVCHEN & SHAPIRO LLP
 9
10
                                        By: /s/ Thomas P. Burke Jr.
11                                           PATRICIA L. GLASER
12                                           THOMAS P. BURKE JR.
                                             JUSTIN P. THIELE
13                                           Attorneys for Defendants
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